                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                SOUTHERN DIVISION

MARTRESA SCRUGGS,                             )
                                              )
               Plaintiff,                     )
                                              )
VS.                                           )       No. 1:21-cv-00145
                                              )       Jury Trial Demanded
WALMART INC.,                                 )
and HOME ESSENTIALS BRANDS                    )
LLC, d/b/a MAINSTAYS PATIO                    )
ESSENTIALS,                                   )
                                              )
               Defendants.                    )

                                   NOTICE OF REMOVAL

       Defendant Walmart Inc. hereby gives notice of the removal pursuant to 28 U.S.C. § 1441

et. seq., of the following action filed against it: Martresa Scruggs v. Walmart Inc., and Home

Essentials Brands LLC, d/b/a Mainstays Patio Essentials; in the Circuit Court for Hamilton

County, Tennessee, No. 21C494.

       This is a suit of wholly civil nature filed in Tennessee state court. The action is pending in

the Circuit Court for Hamilton County, Tennessee. Under 28 U.S.C.A. §§ 123(a)(3) and 1441(a),

the United States District Court for the Eastern District of Tennessee, Southern Division is a

proper forum for removal.

       This Court has original jurisdiction pursuant to 28 U.S.C.A. § 1332 because there is

complete diversity of citizenship and the amount in controversy exceeds $75,000. The Complaint

and the Amended Complaint both seek judgment in an amount of $3,000,000 in compensatory

damages, as well as punitive damages and treble damages. Plaintiff is a citizen and resident of

Hamilton County, Tennessee.

       Defendant Walmart Inc. is a Delaware corporation with a principal place of business in

Arkansas. Defendant Home Essentials Brands LLC is an Illinois limited liability company with a
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principal place of business in Illinois.1

        Defendant Walmart Inc. was served with process and the Original Complaint on May 26,

2021. The Amended Complaint was e-mailed to counsel for Defendant Walmart Inc. on June 14,

2021. Copies of the summons served upon Defendant Walmart Inc., the Original Complaint, and the

Amended Complaint are attached as Exhibits A-C. As of the filing of this Notice of Removal,

Defendant Home Essentials Brands LLC has not been served with process based on the docket

records for this matter in the Circuit Court for Hamilton County, Tennessee.2 This Notice of

Removal is timely filed as set forth in 28 U.S.C. § 1446.

            Defendant Walmart Inc. is the only defendant that has been served in this matter as of

the filing of this Notice of Removal, so it is the only defendant that is required to consent to

removal pursuant to 28 U.S.C. § 1446(b).

        WHEREFORE, Defendant Walmart Inc. hereby gives notice of the removal of this

action pending in the Circuit Court for Hamilton County, Tennessee, to the United States District

Court for the Eastern District of Tennessee, Southern Division, and requests that the proceedings



        1
         In the original Complaint filed on May 21, 2021, Plaintiff also named CL Products
International, LLC, Candle-Lite Company, LLC and Luminex Home Decor and Fragrance
Company as defendants. None of these three parties are named as defendants in the Amended
Complaint filed by Plaintiff on June 14, 2021. To the extent that it is relevant for removal,
Defendant Walmart provides the following information about these three parties: CL Products
International, LLC is an Illinois limited liability company with a principal place of business in
Ohio. Candle-Lite Company, LLC is an Illinois limited liability company with a principal place
of business in Ohio. Luminex Home Decor and Fragrance Company is a Delaware corporation
with a principal place of business in Ohio.
        2
         In the original Complaint filed on May 21, 2021, Plaintiff also named CL Products
International, LLC, Candle-Lite Company, LLC and Luminex Home Decor and Fragrance
Company as defendants. None of these three parties are named as defendants in the Amended
Complaint filed by Plaintiff on June 14, 2021. To the extent that it is relevant for removal,
Defendant Walmart provides the following information about these three parties: Based on the
docket records for this matter in the Circuit Court for Hamilton County, Tennessee, CL Products
International, LLC, Candle-Lite Company, LLC, and Luminex Home Decor and Fragrance
Company have not been served with process as of the filing of this Notice of Removal.
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be held thereon.

                                              s/ Elle G. Kern
                                              G. Andrew Rowlett, No. 16277
                                              Elle G. Kern, No. 34301
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                                              Attorneys for Defendant Walmart Inc.




                              CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was electronically filed with the Court and was

served by U.S. Mail, postage prepaid, upon:

       Valerie W. Epstein
       724 Cherry Street
       Chattanooga, TN 37402
       vepstein@epsteinlawfirm.net
       Attorney for Plaintiff

       this the 24th day of June, 2021.

                                                     s/ Elle G. Kern




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